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 4
     Attorney for CHARLES GOODMAN
 5

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 7
                                  UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         Case No.: 2:17-CR-023 TLN
11

12
                    Plaintiff,

     vs.                                               STIPULATION AND ORDER
13
                                                       CONTINUING STATUS CONFERENCE
14   CURTIS PHILLIPS, CHARLES RAY                      AND EXCLUDING TIME UNDER THE
     GOODMAN, DEBORAH LYNN POLLARD,                    SPEEDY TRIAL ACT
15
     CONWAY PHILLIPS, JR., and ELO WILLIE
     WADLEY,                                           Date:       July 26, 2018
16
                                                       Time:        9:30 a.m.
17                  Defendants.                        Court:      Hon. Troy L. Nunley

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21
            This matter is presently set for a status conference on May 17, 2018. The case involves a
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     charged conspiracy to distribute cocaine base. The Drug Enforcement Administration’s
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     investigation included the use of confidential sources, controlled purchases, and court-authorized
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25   wiretaps of a pager and two cellular telephones. The government has provided voluminous

26   discovery to defense counsel, including approximately 691 pages of investigative reports and
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 1   three discs of recordings and other materials.
 2
            Based on the nature of the investigation, as well as Mr. Plesser’s recent substitution into
 3
     the case, all defense counsel require additional time to conduct their own investigations
 4
     regarding potential defenses in the case.
 5

 6          The parties to this action, Plaintiff United States of America by and through Assistant

 7   United States Attorney Jason Hitt, Attorney Olaf Hedberg on behalf of Defendant Curtis Phillips,
 8
     Attorney Michael Long on behalf of Defendant Charles Ray Goodman, Attorney Toni White on
 9
     behalf of Defendant Deborah Lynn Pollard, Attorney Steve Plesser on behalf of Defendant
10
     Conway Phillips, Jr., and Attorney Todd Leras on behalf of Defendant Elo Willie Wadley,
11

12   stipulate as follows:

13          1.    By this stipulation, Defendants now move to vacate the status conference presently
14
                  set for May 17, 2018. The parties request to continue the status conference to July 26,
15
                  2018, at 9:30 a.m., and to exclude time between May 17, 2018 and July 26, 2018
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                  under Local Code T-4. The United States does not oppose this request.
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18          2. Due to the volume of discovery in the case, including 691 pages of investigative

19                reports and three discs containing additional materials, defense counsel for all
20
                  defendants are engaged in ongoing review of the discovery and defense investigation
21
                  related to potential defenses in this matter. This investigation is necessary to ensure
22
                  that potential defenses are explored and discussed with each defendant in the case.
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24          3. All defense counsel represent and believe that failure to grant additional time as

25                requested would deny each of them the reasonable time necessary for effective
26
                  preparation, considering the exercise of due diligence.
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 1          4. Based on the above-stated facts, the parties jointly request that the Court find that the
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                ends of justice served by continuing the case as requested outweigh the best interest
 3
                of the public and the Defendants in a trial within the time prescribed by the Speedy
 4
                Trial Act.
 5

 6          5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 7              seq., within which trial must commence, the time period of May 17, 2018 to July 26,
 8
                2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and (B)
 9
                (iv) [Local Code T-4] because it results from a continuance granted by the Court at
10
                Defendants’ request on the basis that the ends of justice served by taking such action
11

12              outweigh the best interest of the public and the Defendants in a speedy trial.

13          6. Nothing in this stipulation and order shall preclude a finding that other provisions of
14
                the Speedy Trial Act dictate that additional time periods are excludable from the
15
                period within which a trial must commence.
16
            Assistant U.S. Attorney Jason Hitt and all defense counsel have reviewed this proposed
17

18   order and authorized Michael Long to sign it on their behalf.

19   DATED: May 15, 2018
                                                          By      /s/ Michael D. Long for
20
                                                                  JASON HITT
21                                                                Assistant United States Attorney

22
     DATED: May 15, 2018
23
                                                          By      /s/ Michael D. Long for
24                                                                OLAF W. HEDBERG
                                                                  Attorney for Defendant
25                                                                CURTIS PHILLIPS
26
     ///
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 1   DATED: May 15, 2018
                                             By    /s/ Michael D. Long
 2
                                                   MICHAEL D. LONG
 3                                                 Attorney for Defendant
                                                   CHARLES GOODMAN
 4
     DATED: May 15, 2018
 5
                                             By    /s/ Michael D. Long for
 6                                                 TONI L. WHITE
                                                   Attorney for Defendant
 7                                                 DEBORAH POLLARD
 8
     DATED: May 15, 2018
 9                                           By    /s/ Michael D. Long for
                                                   STEVE PLESSER
10                                                 Attorney for Defendant
                                                   CONWAY PHILLIPS, JR.
11

12   DATED: May 15, 2018
                                             By    /s/ Michael D. Long for
13                                                 TODD D. LERAS
                                                   Attorney for Defendant
14
                                                   ELO WADLEY
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 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference in this matter, scheduled for May 17, 2018, is vacated.
 4
     A new status conference is scheduled for July 26, 2018, at 9:30 a.m. The Court further finds,
 5

 6   based on the representations of the parties and Defendants’ request, that the ends of justice

 7   served by granting the continuance outweigh the best interests of the public and the defendants in
 8
     a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
10
     consideration the exercise of due diligence for the period from May 17, 2018, up to and
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12   including July 26, 2018.

13   DATED: May 15, 2018
14

15
                                                        Troy L. Nunley
16                                                      United States District Judge

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     ORDER CONTINUING STATUS
28   CONFERENCE
